                Case 2:09-cr-00074-JAM-AC Document 176 Filed 04/10/12 Page 1 of 2


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            4
                Attorney for Defendant
            5
                DUANE ALLEN EDDINGS
            6
            7                          IN THE UNITED STATES DISTRICT COURT

            8                        FOR THE EASTERN DISTRICT OF CALIFORNIA

            9                                     SACRAMENTO DIVISION

           10
           11   UNITED STATES OF AMERICA,                  )   Case No. CR S 09 0074 JAM
                                                           )
           12                             Plaintiff,       )   STIPULATION AND ORDER TO
                                                           )   EXTEND TIME TO FILE
           13         vs.                                  )   RESPONSES TO PRESENTENCE
                                                           )   REPORT
           14   DUANE ALLEN EDDINGS,                       )
                                                           )
           15                             Defendant.       )
                                                           )
           16                                              )

           17          It is hereby stipulated and agreed to between plaintiff, UNITED STATES OF
           18   AMERICA, through its counsel of record, Michael D. Anderson, Assistant United States
           19   Attorney, and defendant, DUANE ALLEN EDDINGS, through his counsel of record,
           20   Joseph J. Wiseman, that the parties’ responses to the Presentence Report prepared in
           21   this case shall be due April 12, 2011.
           22          Specifically, the parties recently received the Presentence Report and need
           23   additional time to prepare and file their respective formal Objections and Sentencing
           24   Memorandums.
           25   Dated: April 9, 2012                      Respectfully submitted,
           26
                                                          WISEMANLAW GROUP, P. C.
           27                                             By:    /s/ Joseph J. Wiseman
                                                             JOSEPH J. WISEMAN
           28
                                                             Attorney for Defendant,
                                                             DUANE ALLEN EDDINGS

                STIPULATION AND ORDER TO EXTEND TIME                                      CR S 09-0074 JAM
                TO FILE RESPONSES TO PRESENTENCE REPORT



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                Case 2:09-cr-00074-JAM-AC Document 176 Filed 04/10/12 Page 2 of 2


            1   Dated: April 9, 2012                      BENJAMIN B. WAGNER
                                                          United States Attorney
            2
            3                                             By:   /s/ Michael Anderson
                                                            MICHAEL ANDERSON, AUSA
            4                                               Attorney for Plaintiff
                                                            UNITED STATES OF AMERICA
            5
            6
            7
                                                          ORDER
            8
            9          GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT the
           10   parties’ Formal Objections and Sentencing Memorandums in response to the
           11   Presentence Report generated in this case shall be due on April 12, 2012.
           12
           13   Dated: April 10, 2012                           /s/ John A. Mendez____________
                                                                HONORABLE JOHN A. MENDEZ
           14                                                   UNITED STATES DISTRICT JUDGE
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                STIPULATION AND ORDER TO EXTEND TIME                                        CR S 09-0074 JAM
                TO FILE RESPONSES TO PRESENTENCE REPORT



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